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Attorney for Defendant
AZADALI DAMANI



                               UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA


THE UNITED STATES OF AMERICA                              )   CR No.: S-02-104 LKK
                                                          )
                  Plaintiff,                              )   STIPULATION AND ORDER TO
                                                          )   CONTINUE JUDGMENT AND
                                                          )   SENTENCING
                                                          )
         vs.                                              )
                                                          )   Date: May 10, 2005
AZADALI DAMANI,                                           )   Time: 9:30 a.m.
                                                          )
                  Defendant.                              )   Honorable Lawrence K. Karlton
                                                          )
                                                          )
                                                          )

         The United States of America, by and through Assistant U.S. Attorney

Carolyn Delaney, and Defendant AZADALI DAMANI, by and through his attorney

Johnny L. Griffin III, hereby agree and stipulate to continue the judgment and

sentencing in the above captioned case from May 10, 2005 to June 7, 2005 at 9:30

a.m.1

///

///




1. The parties have been advised by this Court’s Clerk that June 7, 2005 at 9:30 a.m. is an available date
and time for judgment and sentencing on this matter
U.S. v. Azadali Damani
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        The parties further agree and stipulate that time continue to be excluded pursuant

to 18 U.S.C. § 3161(h)(8)(B)(iv).



Dated: May 5, 2005                          Respectfully submitted,


                                            /s/ Carolyn Delaney
                                            CAROLYN DELANEY2
                                            Assistant U.S. Attorney




Dated: May 5, 2005                          /s/ Johnny L. Griffin, III
                                            Attorney for Defendant Azadali Damani



IT IS SO ORDERED.



Dated: May 6, 2005                          /s/ Lawrence K. Karlton
                                            HON. LAWRENCE K. KARLTON
                                            United States District Judge




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   Assistant United States Attorney Carolyn Delaney telephonically authorized attorney Johnny L. Griffin,
III to sign this Stipulation and Order on her behalf.
U.S. v. Azadali Damani
Cr-S-02-104 LKK
STIPULATION AND ORDER
TO CONTINUE JUDGMENT AND SENTENCING                 2
